Case: 25-10534        Document: 14-1      Page: 1     Date Filed: 04/18/2025




         United States Court of Appeals
              for the Fifth Circuit                                United States Court of Appeals
                                                                            Fifth Circuit

                             _____________                                FILED
                                                                      April 18, 2025
                               No. 25-10534
                                                                     Lyle W. Cayce
                             _____________                                Clerk

A.A.R.P., on their own behalf and on behalf of others similarly situated;
W.M.M., on their own behalf and on behalf of others similarly situated;
F.G.M., on their own behalf and on behalf of others similarly situated,

                                                       Petitioners—Appellants,

                                     versus

Donald J. Trump, in his official capacity as President of the United States;
Pamela Bondi, Attorney General of the United States, in her official
capacity; Kristi Noem, Secretary of the United States Department of
Homeland Security, in her official capacity; United States
Department of Homeland Security; Todd Lyons, Acting
Director of the Director of United States Immigration and Customs Enforcement,
in his official capacity; United States Immigration and
Customs Enforcement; Marco Rubio, Secretary of State, in his
official capacity; United States State Department; Josh
Johnson, in his official capacity as acting Dallas Field Office Director for
United States Immigration and Customs Enforcement; Marcello
Villegas, in his official capacity as the Facility Administrator of the
Bluebonnet Detention Center; Phillip Valdez, in his official
capacity as Facility Administrator of the Eden Detention Center;
Jimmy Johnson, in his/her official capacity as Facility Administrator of
the Prairieland Detention Center; Judith Bennett, in her
official capacity as Warden of the Rolling Plains Detention Center,

                                                       Respondents—Appellees.
Case: 25-10534       Document: 14-1       Page: 2    Date Filed: 04/18/2025

                                 No. 25-10534




              ________________________________

               Appeal from the United States District Court
                   for the Northern District of Texas
                         USDC No. 1:25-CV-59
              ________________________________

                       UNPUBLISHED ORDER

Before Ho, Wilson, and Ramirez, Circuit Judges.
Per Curiam:
       Petitioners’ opposed motion for a temporary administrative stay and
an injunction pending appeal is DENIED as premature.
       “A court of appeals sits as a court of review, not of first view.”
Zaragoza v. Union Pacific Railroad Company, 112 F.4th 313, 322 (5th Cir.
2024) (cleaned up). That principle dictates our ruling today.
       Just yesterday, the district court entered an order indicating that
“[t]he government states that authorities will not remove the petitioners
during this litigation, and it will alert the Court if that changes.”       If
Petitioners are concerned that Respondents’ position has changed, they
should have litigated these concerns before the district court in the first
instance. We do not doubt the diligence and ability of the respected district
judge in this case to act expeditiously when circumstances warrant.
Petitioners insist that they tried to proceed before the district court in the
first instance, and that the district court simply “refus[ed] to act.” But the
district court’s order today indicates that Petitioners gave the court only 42
minutes to act—and did not give Respondents an opportunity to respond.
       The appeal is DISMISSED for lack of subject matter jurisdiction
under 28 U.S.C. § 1291(a)(1), for substantially the reasons stated in Judge
Ramirez’s concurrence.



                                      2
Case: 25-10534          Document: 14-1       Page: 3   Date Filed: 04/18/2025

                                 No. 25-10534




Irma Carrillo Ramirez, Circuit Judge, concurring:
       This court has jurisdiction to review interlocutory orders, including
interlocutory orders that refuse or dissolve injunctions, 28 U.S.C. §
1292(a)(1), as well as orders that do not expressly refuse an injunction but
have the “practical effect of doing so,” Carson v. Am. Brands, Inc., 450 U.S.
79, 83 (1981) (citing Gen. Elec. Co. v. Marvel Rare Metals Co., 287 U.S. 430,
433 (1932)). A litigant appealing an effective denial of an injunction must
“show that [the order or inaction] might have a serious, perhaps irreparable,
consequence.” Carson, 450 U.S. at 84. Id. (internal quotation marks
omitted). To be sufficiently serious, the consequences must be “greater than
the harm suffered by any litigant forced to wait until the termination of the
[proceedings] before challenging interlocutory orders it considers
erroneous.” Sherri A.D. v. Kirby, 975 F.2d 193, 204 n.15 (5th Cir. 1992)
(quoting Firestone Tire & Rubber Co. v. Risjord, 449 U.S. 368, 378–79 n.13
(1981)). Petitioners have identified sufficiently serious consequences—
removal of individuals detained under the Alien Enemies Act to a foreign
country without “notice . . . within a reasonable time and in such a manner
as will allow them to actually seek habeas relief in the proper venue before
such removal occurs.” See Trump v. J.G.G., 604 U.S. __, 2025 WL 1024097,
at *2 (Apr. 7, 2025).
       Nevertheless, “what counts as an effective denial is contextual—
different cases require rulings on different timetables.” In re Fort Worth
Chamber of Commerce, 100 F.4th 528, 535 (5th Cir. 2024). “District courts
have wide discretion in managing their docket, and they do not necessarily
deny a motion by failing to rule on a parties’ requested timeline.” Id. Here,
the petitioners filed a motion for a temporary restraining order just after
midnight on April 18, 2025. Around noon the next day, they filed a motion
seeking a status conference and informing the district court that they would
construe its failure to act within 42 minutes as a constructive denial of their



                                         3
Case: 25-10534         Document: 14-1    Page: 4    Date Filed: 04/18/2025

                                No. 25-10534




motion. The ensuing appeal, after the district court failed to meet this
unreasonable deadline, divested the district court of jurisdiction. It was
therefore unable to complete its review of the filings, after affording the
government an opportunity to respond, and issue rulings by noon on April
19, 2025, as it had planned. Although the declarations fully reflect the need
for urgency, we cannot find an effective denial of injunctive relief based on
the district court’s failure to issue the requested ruling within 42 minutes.
The appeal is dismissed for lack of subject-matter jurisdiction under 28
U.S.C. § 1291(a)(1).




                                     4
